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 7

 8                                         UNITED STATES DISTRICT COURT

 9                                      NORTHERN DISTRICT OF CALIFORNIA

10

11   BOARD OF TRUSTEES OF THE                                   Case No. 3:24-cv-01699-VC
     LABORERS HEALTH AND WELFARE
12   TRUST FUND FOR NORTHERN                                    FIRST AMENDED COMPLAINT FOR
     CALIFORNIA; BOARD OF TRUSTEES OF                           BREACH OF COLLECTIVE
13
     THE LABORERS VACATION-HOLIDAY                              BARGAINING AGREEMENT; TO
14   TRUST FUND FOR NORTHERN                                    RECOVER UNPAID TRUST FUND
     CALIFORNIA; BOARD OF TRUSTEES OF                           CONTRIBUTIONS AND LIQUIDATED
15   THE LABORERS PENSION TRUST FUND                            DAMAGES AND INTEREST ON
     FOR NORTHERN CALIFORNIA; and                               CONTRIBUTIONS PAID, BUT PAID
16   BOARD OF TRUSTEES OF THE                                   LATE; AND FOR MANDATORY
     LABORERS TRAINING AND RETRAINING                           INJUNCTION
17
     TRUST FUND FOR NORTHERN
18   CALIFORNIA,

19                                  Plaintiffs,
20             vs.
21
     HILLSIDE DRILLING, INC., a California
22   corporation,

23                                  Defendant.
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 1            Now comes the Plaintiffs, hereinabove named, and for their causes of action against
 2   defendant Hillside Drilling, Inc., a California corporation (“Hillside Drilling”), as follows:
 3                                      I. JURISDICTION AND VENUE
 4            1.        This is an action for damages for breach of the collective bargaining agreement
 5   described below, for recovery of unpaid trust fund contributions and for injunctive relief. This
 6   Court has jurisdiction of the action under and pursuant to the provisions of 29 U.S.C. §185
 7   (§301 of the Labor Management Relations Act of 1947, as amended) and 29 U.S.C.
 8   §§1132(a)(3) and 1132(e)(1) (§§502(a)(3) and 502(e)(1) of the Employee Retirement Income
 9   Security Act of 1974, as amended) (“ERISA”). The suit arises from defendant’s failure to
10   make trust fund contributions as required by its collective bargaining agreement, by the
11   written trust agreements, and by provisions of federal law.
12                                    II. INTRADISTRICT ASSIGNMENT
13            2.        Venue of the within action is properly laid in the U.S. District Court for the
14   Northern District of California in that, under ERISA §502(e)(2), 29 U.S.C. §1132(e)(2),
15   contributions are made to, and benefits are paid from, a corporate co-trustee bank in the Northern
16   District of California.
17                                                 III. PARTIES
18            3.        The Laborers Health and Welfare Trust Fund for Northern California, Laborers
19   Vacation-Holiday Trust Fund for Northern California, Laborers Pension Trust Fund for Northern
20   California, and Laborers Training and Retraining Trust Fund for Northern California are the
21   Plaintiffs herein. The Laborers Health and Welfare Trust Fund for Northern California, Laborers
22   Vacation-Holiday Trust Fund for Northern California, Laborers Pension Trust Fund for Northern
23   California, and Laborers Training and Retraining Trust Fund for Northern California (“the Trust
24   Funds” of “plaintiffs”) are trust funds organized under and pursuant to the provisions of
25   §§302(c)(5) and 302(c)(6) of the Labor Management Relations Act of 1947, as amended,
26   29 U.S.C. §§186(c)(5) and 186(c)(6). The Trust Funds were established through collective
27   bargaining agreements between the Northern California District Council of Laborers and
28   employer associations representing construction industry employers doing business in Northern


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 1   California. The Trust Funds are employee benefit plans created by written trust agreements
 2   subject to and pursuant to §§3(3) and 3(37) of ERISA, 29 U.S.C. §§1002(3) and (37). The
 3   Boards of Trustees, as fiduciaries, are the plaintiffs, who sue on behalf of the Trust Funds.
 4            4.        Each of the Trust Funds is a third-party beneficiary of the collective bargaining
 5   agreement described below.
 6            5.        At all times mentioned herein, each of the Trust Funds was an express trust
 7   created by a written trust agreement subject to and pursuant to §302 of the Labor Management
 8   Relations Act, 29 U.S.C. §186, and a multi-employer benefit plan within the meaning of §§3 and
 9   4 of ERISA, 29 U.S.C. §§1002, 1003.
10            6.        The Trust Funds provide a variety of benefits for laborers, retired laborers, and
11   other related covered employees on whose behalf contributions are made pursuant to collective
12   bargaining agreements. The duties of the Board of Trustees of the Trust Funds include ensuring
13   that employers who are signatories to said collective bargaining agreements comply with the
14   terms of those agreements with respect to payments and contributions to the Trust Funds.
15            7.        Plaintiffs are informed and believe, and upon that ground allege, that at all times
16   material hereto, defendant Hillside Drilling is and was doing business as a general contractor with
17   its principal place of business located in Anderson, California. Plaintiffs are further informed and
18   believe, and upon that ground allege, that defendant Hillside Drilling is and has been an employer
19   within the meaning of §3(5) and §515 of ERISA, 29 U.S.C. §§1002(5), 1145 and an employer in
20   an industry affecting commerce within the meaning of §301 of the LMRA, 29 U.S.C. §185.
21                                       IV. FIRST CLAIM FOR RELIEF
22                                  (Breach of Collective Bargaining Agreement)
23            8.        Plaintiffs reallege and incorporate by reference, as though fully set forth, the
24   allegations contained in Paragraphs 1-7 of this complaint.
25            9.        On or about September 10, 1996, Hillside Drilling executed a Memorandum
26   Agreement. By virtue of signing the Memorandum Agreement, Hillside Drilling became bound
27   to a written collective bargaining agreement with the Northern California District Council of
28   Laborers (“Laborers Union”) entitled the Laborers’ Master Agreement for Northern California


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 1   (“Master Agreement”). In agreeing to be bound to the Master Agreement, Hillside Drilling
 2   further agreed to be subject to and bound by all provisions and conditions of the written Trust
 3   Agreements which established the Trust Funds. Pursuant to the provisions of the Master
 4   Agreement, Hillside Drilling agreed to be bound by all terms relating to wages, hours and
 5   conditions of employment prescribed therein with the Laborers Union.
 6            10.       By virtue of the Master Agreement and written trust agreements, Hillside Drilling
 7   promised and agreed that (1) it would pay employee fringe benefit contributions into each Trust
 8   Fund in regular monthly installments commencing on or before the 15th day of the month
 9   immediately succeeding the month in which the employee’s work was performed; (2) that in the
10   event that any of said monthly installments were not paid in full on or before the 25th day of the
11   month in which such contributions became due, it would pay interest on the delinquent
12   contribution in the amount of 1.5% per month until paid in full, and would also pay the amount of
13   $150 for each delinquent contribution as liquidated damages, and not as a penalty; and (3) that if
14   any suit with respect to any of said contributions or payments were filed against it, it would pay
15   into said Trust Funds the attorneys’ fees, costs and all other expenses incurred in connection with
16   such suit.
17            11.       On April 24, 2020, Hillside Drilling and Northern California Laborers Joint
18   Apprenticeship Training Committee entered into the CCL APPRENTICE SPONSORSHIP
19   AGREEMENT (the “CCL”). Dalton Levin was hired by Hillside Drilling on April 24, 2020 as
20   an approved apprentice via Local 185 under the CCL at the sixty-five percent rate for sponsored
21   apprentices. Thereafter, Dalton Levin Submitted documents to the Northern California Joint
22   Apprenticeship Committee relating to his prior construction experience. On May 27, 2020,
23   Dalton Levin received a letter from the Northern California Joint Apprenticeship Training Center
24   honoring documents he submitted to the Committee as proof of previous construction experience.
25            12.       Hillside Drilling incorrectly reported hours worked by member Dalton Levin,
26   from May 2020 through July 2021, as having been performed at the Apprentice 1 classification.
27   This is in error, as Mr. Levin was moved to the Apprentice 2 classification on April 24, 2020.
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 1   Consequently, Hillside Drilling failed to report and pay contributions for the period May 2020
 2   through July 2021, inclusive, in the principal amount of $38,678.31.
 3            13.       An audit was conducted by the Trust Funds covering the period beginning
 4   June 2022 to June 2024 which reveals that Hillside Drilling failed to report contributions in the
 5   amount of $51,480.72 to the Trust Funds owed based upon work performed by its employees
 6   under the Master Agreement, and thus owes the unreported, unpaid contributions in the amount
 7   of $51,480.72 and liquidated damages (interest ) in the amount of $13,291.96. Demand has been
 8   made for such amounts. Defendant has failed and/or refused to pay such amount to date.
 9            14.       The Master Agreement between the Laborers Union and Hillside Drilling has
10   never been terminated.
11            15.       Plaintiffs have performed all conditions, covenants and promises on their part to
12   be performed in accordance with the terms and conditions of the Master Agreement and Trust
13   Agreements.
14            16.       Within the past four years, Hillside Drilling materially breached and broke the
15   aforesaid Master Agreement and trust agreements, in the following respects:
16                      (a)         by failing to report and pay contributions in the amount of $51,480.72 and
17                                  liquidated damages (interest) in the amount of $13,291.96 revealed as
18                                  owed by the audit of Hillside Drilling’s books and records covering the
19                                  period June 2022 to June 2024 conducted by plaintiffs.
20                      (b)         by failing to report, and failing to pay (not reported, not paid) all employee
21                                  trust fringe benefit contributions on behalf of Dalton Levin, one of its
22                                  covered employees, for the period May 2020 through July 2021, inclusive,
23                                  in the principal amount of $38,678.31, according to proof at trial; and
24                      (c)         by failing to pay interest and liquidated damages in the amount of
25                                  $23,643.10 (as of February 6, 2024) based on the not reported, not paid
26                                  hours of covered work performed by Dalton Levine during the period
27                                  May 2020 through July 2021, according to proof at trial.
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 1            17.       The aforesaid material breaches proximately caused damages to plaintiffs in the
 2   following approximate amounts, all according to proof at trial for unpaid contributions (not
 3   reported, not paid), in the principal amount of $90,159.03. Interest will continue to accrue at the
 4   rate of 1.5% each month during the pendency of this lawsuit.
 5            18.       Plaintiffs have incurred and will continue to incur attorneys’ fees in the within
 6   action. Pursuant to the provisions of the Master Agreement and the trust agreements, Plaintiffs
 7   request that the Court award plaintiffs their attorneys’ fees and costs incurred in the bringing of
 8   this action.
 9            WHEREFORE, plaintiffs pray for judgment as set forth below.
10                                       V. SECOND CLAIM FOR RELIEF
11                                  (Recovery of Unpaid Trust Fund Contributions)
12                                            (ERISA §§502(g)(2), 515)
13            19.       Plaintiffs reallege and incorporate by reference, as though fully set forth, the
14   allegations contained in Paragraphs 1-18 of this complaint.
15            20.       ERISA §515, 29 U.S.C. §1145, requires defendant to make such contributions to
16   the plaintiffs Trust Funds as are required under the terms of its collective bargaining agreement
17   with the Union. Pursuant to the provisions of their trust agreements, plaintiffs are entitled to
18   enforce Hillside Drilling’s obligations to make those contributions.
19            21.       An audit was conducted by the Trust Funds covering the period beginning period
20   June 2022 to June 2024 which reveals that Hillside Drilling failed to report contributions in the
21   amount of $51,480.72 to the Trust Funds based upon work performed by its employees under the
22   Master Agreement, and thus owes the unreported, unpaid contributions in the amount of
23   $51,480.72 and liquidated damages (interest ) in the amount of $13,291.96. Demand has been
24   made for such amounts. Defendant has failed and/or refused to pay such amount to date.
25            22.       Hillside Drilling failed to report, and failed to pay (not reported, not paid) all
26   employee trust fringe benefit contributions owed based upon work performed by Dalton Levin,
27   one of its covered employees, for the period May 2020 through July 2021, inclusive, in the
28   principal amount of $38,678.31, according to proof at trial. Hillside Drilling is further obligated


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 1   by the provisions of the Master Agreement and the Trust Agreements to pay interest on unpaid
 2   contributions at the rate of 1.5% per month until paid and liquidated damages in the amount of
 3   $150 for each month that defendant failed to timely report and pay all employee fringe benefit
 4   contributions into each Trust Fund.
 5            23.       Pursuant to the provisions of ERISA, §502(g)(2), 29 U.S.C. §1132(g)(2), plaintiffs
 6   are entitled to the following statutory relief:
 7                      (a)         Section 502(g)(2)(A): for unpaid contributions, not reported, not paid, in
 8                                  the principal amount of $51,480.72 owed based upon work performed by
 9                                  the employees identified in the audit of Hillside Drilling’s books and
10                                  records covering the period June 2022 through June 2024, according to
11                                  proof at trial;
12                      (b)         Section 502(g)(2)(A): for unpaid contributions, not reported, not paid,
13                                  based upon work performed by Dalton Levin, one of its covered
14                                  employees, for the period May 2020 through July 2021 in the principal
15                                  amount of $38,678.31, according to proof at trial;
16                      (c)         Section 502(g)(2)(B): for contributions not reported and not paid, an award
17                                  of interest on the unpaid fringe benefit contributions at the rate of 1.5% per
18                                  month, from the date of the delinquency, until the date of judgment; and
19                      (d)         Section (g)(2)(C): the additional award of an amount equal to the greater of
20                                  (i) interest on the unpaid fringe benefit contributions at the rate of 1.5% per
21                                  month, from the date of the delinquency, until the date of judgment or;
22                                  (ii) liquidated damages under the Master Agreement and trust agreements
23                                  of $150 for each month that defendant failed to timely report and pay all
24                                  employee fringe benefit contributions into each Trust Fund.
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 1            24.       Plaintiffs have incurred and will continue to incur attorneys’ fees in the within
 2   action. Pursuant to the provisions of §502(g)(2)(D) of ERISA, 29 U.S.C. §1132(g)(2)(D),
 3   plaintiffs request that the Court award plaintiffs their attorneys’ fees and costs incurred in the
 4   bringing of this action.
 5            WHEREFORE, plaintiffs pray for judgment as set forth below.
 6                                                    RELIEF REQUESTED
 7            1.        On the First Claim for Relief for damages for breach of the collective bargaining
 8   agreement, for judgment against Hillside Drilling as follows:
 9                      (a)         for unpaid contributions not reported, not paid in the amount of $51,480.72
10                                  revealed as owed by the audit of Hillside Drilling’s books and records
11                                  covering the period June 2022 to June 2024 conducted by plaintiffs.
12                      (b)         for unpaid contributions not reported, not paid, in the amount of
13                                  $ 38,678.31 based upon covered work performed by Dalton Levine for the
14                                  period May 2020 through July 2021, according to proof at trial;
15                      (c)         for interest and liquidated damages in an amount according to proof at
16                                  trial; and
17                      (d)         for such other or further amounts as may be shown at trial, for costs of suit,
18                                  attorneys’ fees and for such other further relief as the Court may deem just
19                                  and proper.
20            2.        On the Second Claim for Relief for recovery under ERISA §502(g)(2), 29 U.S.C.
21   §1132(g)(2), for judgment against Hillside Drilling as follows:
22                      (a)         Section 502(g)(2)(A): for unpaid contributions, not reported, not paid, in
23                                  the principal amount of $51,480.72 owed based upon work performed by
24                                  the employees identified in the audit of Hillside Drilling’s books and
25                                  records covering the period June 2022 through June 2024, according to
26                                  proof at trial;
27                      (b)         Section 502(g)(2)(A): for unpaid contributions, not reported, not paid,
28                                  owed based upon work performed by Dalton Levin, one of its covered


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 1                                  employees, for the period May 2020 through July 2021 in the principal
 2                                  amount of $38,678.31, according to proof at trial;
 3                      (b)         Section 502(g)(2)(B): for contributions not reported and not paid, an award
 4                                  of interest on the unpaid fringe benefit contributions at the rate of 1.5% per
 5                                  month, from the date of the delinquency, until the date of judgment;
 6                      (c)         Section (g)(2)(C): the additional award of an amount equal to the greater of
 7                                  (i) interest on the unpaid fringe benefit contributions at the rate of 1.5% per
 8                                  month, from the date of the delinquency, until the date of judgment or;
 9                                  (ii) liquidated damages under the Master Agreement and trust agreements
10                                  of $150 for each month that defendant failed to timely report and pay all
11                                  employee fringe benefit contributions into each Trust Fund; and
12                      (d)         such other or further amounts as may be shown at trial, for costs of suit,
13                                  attorneys’ fees and for such other further relief as the Court may deem just
14                                  and proper.
15   DATED: November 11, 2024
16                                                         BULLIVANT HOUSER BAILEY PC
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18                                                         By
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                                                                Tracy L. Mainguy
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